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                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

    PINK FLOYD (1987) LIMITED,
                                                               Case No. 1:19-cv-04276
            Plaintiff,
                                                               Judge Virginia M. Kendall
    v.
                                                               Magistrate Judge Young B. Kim
   THE PARTNERSHIPS AND UNINCORPORATED
   ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

            Defendants.


                                    NOTICE OF DISMISSAL

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                 NO.                                 DEFENDANT
                  18                       Guangzhou Healong Sportwear Co., Ltd.
                 182                                    Dimastrade
                  20                         Nanchang Byval Garment Co., Ltd.
                  14                                   boardsupply
                 185                                Elizabeth Dunlop
                 200                                Hermosa Wallogg
                 198                                 Hedda Stephens
                  5                                  Elroy Hutt Silas
                 212                                 Oil Painting Art
                 216                          shanghai yumei trading co LTD
                 177                                   Bert Godwin
                 222                                  Spencer Frank
                 194                                    Gary Billy
                 201                                      Heygg
                 227                                     To-night
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DATED: August 24, 2019                      Respectfully submitted,

                                            /s/ Keith A. Vogt
                                            Keith A. Vogt (Bar No. 6207971)
                                            Keith Vogt, Ltd.
                                            1033 South Blvd., Suite 200
                                            Oak Park, Illinois 60302
                                            Telephone: 708-203-4787
                                            E-mail: keith@vogtip.com

                                            ATTORNEY FOR PLAINTIFF
    Case: 1:19-cv-04276 Document #: 48 Filed: 08/24/19 Page 3 of 3 PageID #:3519




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on August 24, 2019 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
